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mo 2,151; tltev. 06.-05)Judgmt111 in s criminal case "`:"'
Shet:t | h
UNITED STATES D13TR1CT COURI _____L

Eastern District of Washington

UNITED S'I`ATES OF AMERICA JUDGMEN'l` IN A CRIMINAL C:\SE
V.
_ Casc Nuntbcr: Z:UB-CR-OU()?.G-Ut]l
Gypsy I-awson
USMNuntbcr; 12303-085

l<intbcrly A. Denter
Dct`cndnnl`s ¢\tlomcy

 

H

'I`llE DEFENDANT:

El pleaded guilty to count(s]

 

l:i pleaded nolo contendere to connt(s)
which was accepted by the court.

 

E(wns found guilty en count(s} ls and 23 ofthe Superseding indictment
after a plea oi`not guilty.

 

Tl'lc defendant is adjudicated guilty of`tlte.~ie offenses:

 

Titlc & Seeliolt N:ttnre ol' Ol`l`ense Ol`fcnsc Endcd Cciunt
18 U,S.C_ § 3?1 Conspiracy to Smuggle Goods [nto the Unitcd Statcs l}l)'l li08 ls
18 U.S,C. § 545 & 2 Smug_t_t|ini_.>, Gnods lnto the Unitcd Stntes lIFZH,“O? 25

Tite defendant is sentenced as provided in pages 2 through 6 ofthis judgment. Thc sentence is imposed pursuant to

thc Serttcncing Rcform Act of 1984.

m The defendant has been found not guilty on count{s}

 

E(C`ount(s] Origil'ml Indlclm‘-`m dial i:l are dismissed en the motion oi`the United States.

 

_ _ lt is ordered that the dcfcndant_ntust notify the United States attorney f`or this district within 30 days of`§my change ofname, residence,
or mailing address untll‘all fines, restitution,_eosts, and special assessments imposed l_)y tlns_}ndgmc_nt are f`u ly patd. lfordered to pay restitution,
the defendant must notify the court and Umtcd States attorney ofmater:al changes in economic circumstances

4!27)’2009

Date of imposition oiJudgmcnt

` ./U_@ l dam /@»QQQQ

Signnture oi`Jutigc

 

The Honorablc Fred L. Vttn Sick!e Sertier Judgc, U,S. District Court

Nnme and `l'itlc o |`Jutlge

C?j,e/Lc€ ?>?Ci:, 900 ‘i

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AO 2453 (Re\'. 06/05) Judgment in Criminal (`ase
Sheet 2 - imprisonment

Judgmcnt - Pagc 2 of
DEFENDANT. Gypsy Lawson
CASE NUM BERZ 2:08'CR-00026-00l

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 60 day(s)

lmpr Cts is,25, to run concurrent

i:l The court makes the following recommendations to the Bureau of Prisons:

m The defendant is remanded to the custody of the United States Marshal.

l:l The defendant shall surrender to the United States Marshal for this districts
i:l 31 l:l a.m. i:l p.m. on
Cl as notified by the united states Marshai.

 

id The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

ij before 2 p.m. on

 

ij as notified by the United States Marshal.

ij as notified by the Probation or Pretrial Services Of`f`tce.

 

 

 

RETURN
| have executed this judgment as follows:
Det`endant delivered on to
at . with a certified copy of this judgment
UNITED sTATF.S MARSHAL
By

 

DEPUTY UNlTED STATES MARSHAL

Case 2:08-cr-00026-FVS ECF No. 314 filed 04/29/09 PagelD.2134 Page 3 of 6

AO 2458 (Rev. 06/`05) Judgment in a (`rimina| Case
Sheet 3 _ Supervised Release

 

.ludgment_Pagc 3 of 6
DEFENDANT: Gypsy Lawson _
CASE NUMBER: 2108-CR~00026-001
SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : 3 year(s)

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully)possess a controlled substance The defendant shall refrain from any unlawful use of a controlled
substance The defendant shall su mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the coun.

|:] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firean'ri, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

o asst

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

if this fjudgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o Payments sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the ldefendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
eac mont ;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphemalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons en ag_ed in criminal activity and shall not associate with any person convicted of a
feiony, unless granted permission to do so by the pro ation officer;

10) the defendant shall pe_rmit a_ probation officer to yisit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

l l) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify.third parties _of risks that may be occasioned by _the defendant’s criminal
record or ersona _ history_ or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant s compliance with such notification requirement.

 

 

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AO 2458 (Rev. 06/0$) Judgmenl in a Crimina| C asc

Sheet 3C - Supervised Release
*_ 4_ 4 Judgment_Page 4 ol` 6

 

DEFENDANT: Gypsy Lawson
CASE NUMBER: 2108-CR-00026-00|

SPECIAL CONDITIONS OF SUPERVISION

l4. You shall submit your pcrson, residencc, office, or vehicle to a scarch, conducted by a U.S. probation officcr, at a sensible time and
manncr, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failurc to submit to
search may be grounds for revocation. You shall warn persons with whom you share a residence that the premises may bc subject to

search.

Case 2:08-cr-00026-FVS ECF No. 314 filed 04/29/09 PagelD.2136 Page 5 of 6

AO 2458 (Rev. 06/05) Judgment in a (`riminal (` asc
Sheet 5 - (`riminal Monetary Pena|ties

Judgment - Pagc 5 of 6

 

DEFENDANT; Gypsy Lawson
CASE NUMBERZ 2:08-CR-00026-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restittltion
TOTALS 8200.00 S0.00 S4,507.20
l:l The determination of restitution is deferred until . An Amended Jiulgment in a Criminal Case(AO 245C) will be entered

afier such determination
l:] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lf the defendant makes a partial payment, each pa ee shall receive an approximately Lpro oitioned ayment, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 .S. . § 3664§ , all nonfederal victims must be paid
before the United States is paid.

 

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
U.S. Fish & Wildlife Service S2,320.l6 52,320.16 50%
Certer for Disease Control SZ, l 87.04 52,187.04 50%
TOTALS $ 4,507.20 $ 4,507.20

E] Restitution amount ordered pursuant to plea agreement $

l:] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
liReenth day aher the date of the judgment, pursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default. pursuant to 18 U.S.C. § 3612(g).

g The court determined that the defendant does not have the ability to pay interest and it is ordered that:
Qf the interest requirement is waived for the |:| fine q restitution.

I:l the interest requirement for the l:l fine I:I restitution is modified as follows:

* Findings for the total amount of losses are re%uired under Chapters 109A, l 10, l lOA, and 1 13A of Title 18 for offenses committed on or aRer
September 13, 1994, but before April 23, 199 . 1

 

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AO 245B (Rev. 06/05) Judgmcnt in a Criminal Case
Sheet 6 - Schedule of Paymenls

Judgment _ Page 6 of 6
DEFENDANT: Gypsy rawson _

CASE NUMBER: 2:08-CR-00026-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A |:| Lump sum payment of $ due immediately, balance due

lj not later than , or
l:] in accordance |:l C, |:| D, I:I F., or [:| Fbelow; or

d Payment to begin immediately (may be combined with l:| C, l:| D, or MF below); or
|:|

Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D |:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

E |:| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) aRer release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F q Special instructions regarding the payment of criminal monetary penalties:

Defendant shall participate in the Inmate Financial Responsibility Program. Defendant shall contribute 25% of her monthly
earnings while she is incarcerated While on supervised release, restitution is payable on a monthly basis at a rate of not less than
10 percent of defendant’s net household income, commencing 30 days aher his release from imprisonment. Criminal monetary
payments shall be made to the C|erk of the U.S. District Court, Attention: Finance, P.O. Box 1493, Spokane, WA 99210-1493.

_Unle_ss the court has expressl ordered otherwis_e, if this jud ment imposes imprisonment, li]:iay\ment of criminal monetary penalties is due durin
imprisonment. All cnmina moneta penalties, except t ose payments made throug t e Federal Bureau of Pnsons’ Inmate Financia
Responsibility Program, are made to t e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

g Joint and Several

Case Numbers (including defendant number) and Defendant and Co-Defendant Names, Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

CR-08-026-FVS-02: Fran Ogren 54.507.20 34.507.20 United States of America '

El 'l`he defendant shall pay the cost of prosecution.

l:l

The defendant shall pay the following court cost(s):

l:l The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (l? assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.

